    Case 1:21-cv-03267-APM Document 239 Filed 10/03/23 Page 1 of 3




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



 DISTRICT OF COLUMBIA,

                                 Plaintiff,
                                                      Civil Action No. 21-cv-03267-APM
                         v.

 PROUD BOYS INTERNATIONAL,
 L.L.C., et al.,

                                 Defendants.



                                 MILITARY AFFIDAVIT
                        (Certificate in Compliance With Soldiers and Sailors
                       Civil Relief Act of 1940, AS Amended in 1942 & 1960
                        Title 50, Appendix, Section 520, United States Code)

        I hereby certify under penalty of perjury, this 3rd of September, 2023, that I am

the authorized agent for the plaintiff in the above-entitled case and make this certificate

on plaintiff’s behalf regarding Defendants RYAN ASHLOCK, MARC ANTHONY

BRU, WILLIAM CHRESTMAN, DONOVAN RAY CROWL, CHARLES DONOHOE,

JOSEPH HACKETT, ARTHUR JACKMAN, JOSHUA JAMES, ETHAN NORDEAN,

NICHOLAS OCHS, and DANIEL LYONS SCOTT.

        I make this certificate pursuant to the provisions of the Soldiers and Sailors Civil

Act of 1940 and the provisions of the Soldiers and Sailors Civil Relief Act Amendments

of 1942 and 1960; that on behalf of the plaintiff, I have caused careful investigation to be

made to ascertain whether or not the above-named defendants are in the military service

of the United States or its Allies and that as a result of said investigation, I have

discovered and do hereby allege that said defendants are not in the military service of the
    Case 1:21-cv-03267-APM Document 239 Filed 10/03/23 Page 2 of 3




United States or its Allies, that is to say said defendants are not members of the Army of

the United States, the United States Navy, the Marine Corps, the Coast Guard and are not

officers of the public Health Service detailed by proper authority for duty either with the

Army or Navy, and said defendants are not on active duty with any branches aforesaid,

nor are said defendants under training or education under the supervision of the United

States preliminary to induction in to the military services; and the defendants are not

serving with the forces of any nation with which the United States is allied in the

prosecution of any war, nor have said defendants been ordered to report for induction

under the Selective Training and Service Act of 1940, as amended, nor are the defendants

members of the Enlisted Reserve Corps ordered to report for military service, but are

incarcerated or detained as civilians.



Dated: October 3rd, 2023                      By:    /s/ Jeannie S. Rhee
                                              Jeannie S. Rhee (D.C. Bar 464127)
                                              PAUL, WEISS, RIFKIND, WHARTON &
                                              GARRISON LLP
                                              2001 K Street, NW
                                              Washington, D.C. 20006-1047
                                              Tel: 202-223-7300
                                              Fax: 202-223-7420
                                              Email: jrhee@paulweiss.com

                                              Attorney for Plaintiff District of Columbia
    Case 1:21-cv-03267-APM Document 239 Filed 10/03/23 Page 3 of 3




                             CERTIFICATE OF SERVICE

        I hereby certify that, on October 3, 2023, I caused the foregoing Military Affidavit
to be electronically filed using the Court’s CM/ECF system, and service was effected
electronically pursuant to Local Rule 5.4(d) to all counsel of record. Remaining
defendants have been served via first class mail.




                                                    /s/ Jeannie S. Rhee

                                                    Jeannie S. Rhee
